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                                                                                                              U.S. DISTRICT COURT E.O.N.Y.
   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK                                                                               *       MAR Q~ 2011      *
   St. Clair Insurance Company,                                                                                LONG \SbANC QFF\CE
                               Plaintiff,
                                                                                               2:16-CV-05706 (JFB)(SIL)
                     v.
                                                                                               NOTICE OF DISMISSAL
   Louis Campisano and Atlantic ICS Corp.,

                               Defendants.


           Plaintiff St. Clair Insurance Company, by and through its undersigned attorneys, hereby

   dismisses the above-referenced action, with prejudice and without costs against any party,

  . pursuant to Rule 41(a)(i) of the Federal Rules of Civil Procedure.


   Dated: New York, New York                                                    Respectfully submitted:
   February 28, 2017
                                                                                DUANE MORRIS LLP

                                                                                By: Is/ Evangelos Michailidis
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                                                                                Attorney for Plaintiff

                                                                                SO ORDERED:
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                                                                                       Hon. Joseph F. Bianco
                                                                                       United States District Judge

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